Case 1:04-cr-10061-.]DT Document 169 Filed 06/07/05 Page 1 of 2 Page|D 205

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IN THE UNITED sTATES DISTRICT CoURT Q; 619 "‘
FOR THE WESTERN DISTRICT 0F TENNESSEE gave §§
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UNITED sTATEs oF AMEch
vs CR No. 1:04-10061-06-T
TINA PEARSON
0RDER oN CHANGE 0F PLEA

This cause came on to be heard on June 6, 2005, Assistant U. S. Attorney,
Victor Lee Ivy, appearing for the government, and the defendant appeared in person and With
counsel, Lloyd R. Taturn, Who was appointed.

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the Indietment.

This case has been set for sentencing on Friday, September 2, 2005, at 8:45

The defendant is remanded to the custody of the United States Marshal.

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JAME . TODD
UNIT STATES DISTRICT JUDGE

DATE: 7 ?/t/N W'”S’

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wnh note 55 and/or 32(:»} FRCrP on __(L'LXFQL

IT IS SO ORDERED.

 

 

SDISTRICT COURT - WSRNETE DTRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

